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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL
Case No. 2:21-cv-08561-RGK-MAR Date December 20, 2021

 

 

Title Curtis Adler v. Elon Musk et al

 

Present: The Honorable R.GARY KLAUSNER, UNITED STATES DISTRICT JUDGE

 

 

Sharon L. Williams Not Reported N/A
Deputy Clerk Court Reporter / Recorder Tape No.
Attorneys Present for Plaintiff: Attorneys Present for Defendant:
Not Present Not Present
Proceedings: (IN CHAMBERS) Order Striking Proof of Service [DE 10]

Plaintiff Curtis Adler filed a proof of service on November 3, 2021, indicating that Curtis Adler
served Defendants by mail. (See ECF No. 10.) Federal Rule of Civil Procedure 4 provides that only a
person who is “not a party may serve a summons and complaint.” Fed. R. Civ. P. 4. Because Plaintiff
failed to comply with this requirement, the Court STRIKES the proof of service.

The Court notes that Plaintiff's proof of service indicates that he mailed a summons. However,
there is no summons on the docket. The Court refers Plaintiff to Local Rule 4-1 to request issuance of
the summons by the Clerk. The Court also refers Plaintiff to the pro se clinic for further guidance:
https://prose.cacd.uscourts.gov/los-angeles.

IT IS SO ORDERED.

 

Initials of Preparer

 

 

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